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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §       Criminal No. 3:17-CR-155-L
                                                 §
DEHSHID NOURIAN (02)                             §

                                             ORDER

            Before the court is Defendant Dehshid Nourian’s Unopposed Motion to Continue

Presentence Deadlines (“Motion”) (Doc. 760), filed March 6, 2024. After consideration, the court

determines that the Motion should be and is hereby granted. Accordingly, Defendant Nourian is

permitted to make objections to the Presentence Report by 5:00 p.m., March 22, 2024. The

deadline for the probation officer to disclose any revisions or addendum to the Presentence Report

is revised to 5:00 p.m., March 29, 2024. Written objections to these revisions or addendum must

be delivered to the court and the probation officer by 5:00 p.m., April 5, 2024. The sentencing

hearing will be held Monday, April 22, 2024, at 9:00 a.m., as previously ordered. All other

portions of the court’s original Sentencing Scheduling Order remain in effect.

         It is so ordered this 7th day of March, 2024.



                                                         _________________________________
                                                         Sam A. Lindsay
                                                         United States District Judge




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